      Case 2:22-cv-04979-JDW        Document 12      Filed 12/27/22    Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 EVELYN NELSON, individually, as natural
 parent and next friend of J.N. I and J.N.
 II, minors, and on behalf of all others
 similarly situated,
              Plaintiff,
      v.                             Case No. 2:22-cv-04676-JDW
 CONNEXIN SOFTWARE INC. d/b/a OFFICE
 PRACTICUM,

              Defendant.


 KAZANDRA BARLETTI, individually, as a
 natural parent and next friend of A.B.T., a
 minor, and on behalf of all others
 similarly situated.,

              Plaintiff,                        Case No. 2:22-cv-04979-JDW

       v.

 CONNEXIN SOFTWARE INC. d/b/a OFFICE
 PRACTICUM,

              Defendant.


                                            ORDER

      AND NOW, on this 27th day of December, 2022, upon review of the Parties’s

Stipulation And [Proposed] Order Consolidating Related Actions And Setting Process For

Appointment Of Interim Class Counsel, it is ORDERED that the above captioned cases are

consolidated pursuant to Fed. R. Civ. P. 42(a). The Clerk of Court shall place Barletti v.
         Case 2:22-cv-04979-JDW     Document 12     Filed 12/27/22    Page 2 of 2




Connexin Software, Inc., 2:22-cv-04979-JDW, in civil suspense until further order of the

Court;

         It is FURTHER ORDERDERED that the Court will conduct a telephonic status

conference on January 11, 2023, at 4:00 p.m. The Court will circulate dial-in information

to counsel the week of the call.

                                               BY THE COURT:

                                               /s/ Joshua D. Wolson
                                               JOSHUA D. WOLSON
